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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


JOHN DOE,

       Plaintiff,
                                           CASE NO. 4:17-cv-00516-MW-CAS

FLORIDA STATE UNIVERSITY
BOARD OF TRUSTEES; FRANK
DENENBERG, an individual; and
CODY HARTLEY, an individual,

      Defendants .
_________________________________/

                                  JOINT STATUS REPORT

       Pursuant to this Court’s Initial Scheduling Order [Doc. 3] the parties hereby file a

joint status report, and state:

       1.      The parties’ joint report as required by Rule 26(f) and pursuant to the Initial

Scheduling Order was filed on December 21, 2017.

       2.      The parties exchanged their initial Rule 26 disclosures on January 4, 2018.

       3.      Defendants served their First Set of Interrogatories and First Request for

Production to Plaintiff on January 22, 2018.

       4.      On March 5, 2018, the Plaintiff served his Answers to Interrogatories and his

Response to the Defendant's First Request for Production. The parties agreed to extend the

due-date on those responses from February 21 to March 5, because the Plaintiff's attorney

was in a trial from February 19 to March 2.
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       5.    On March 9, 2018, the Plaintiff served his First Request for Production. The

response will be due on April 10, 2018.

       6.    On April 9, Defendants’ served their responses to Plaintiff’s First Request

for Production.

       7.    On April 26, Plaintiff served his Second Request for Production.

       8.    Defendants’ response to Plaintiff’s Second Request for Production is due on

May 29.

       9.    Defendants took the deposition of Plaintiff on March 30.

       10.   The parties took witness depositions on April 9, 10 and 13 to take the

deposition of witnesses.

       11.   The parties took additional depositions on May 11 and May 18.


       Respectfully submitted this 18th day May 2018.

MARIE A. MATTOX, P.A.                          HENRY BUCHANAN, P.A.


s/ Adam Ellis                                  s/ Miriam R. Coles
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                                               UNIVERSITY BOARD OF TRUSTEES,
                                               FRANK DENENBERG and CODY HARTLE



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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of has been furnished via

CM/ECF, which will automatically send e-mail documentation of such filing to all

attorneys of record on this 18th day of May, 2018.

                                         s/ Miriam R. Coles
                                         ATTORNEY




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